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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

  SUSAN L. DALE,                                  §
                                                  §
                 Plaintiff,                       §
                                                  §
  vs.                                             §   CASE NO. 17-CV-677-TCK-JFJ
                                                  §
  MAIN EVENT ENTERTAINMENT LP                     §
  d/b/a MAIN EVENT ENTERTAINMENT                  §   JURY TRIAL DEMANDED
  a foreign limited partnership,                  §
                                                  §
                                                  §
                 Defendant.
                                                  §
               DEFENDANT MAIN EVENT ENTERTAINMENT LP D/B/A
            MAIN EVENT ENTERTAINMENT’S MOTION FOR RELIEF FROM
             LOCAL COUNSEL REQUIREMENT AND SUPPORTING BRIEF

         Defendant Main Event Entertainment LP d/b/a Main Event Entertainment a foreign

  limited partnership (“Main Event” or “Defendant”) and its counsel move the Court for relief

  from the local counsel requirement of Local Civil Rule 83.3. For the reasons set forth herein,

  Defendant and its counsel respectfully request that the Court enter an Order allowing

  Defendant’s non-resident counsel to appear without local counsel.

                                             I. Analysis

         Local Civil Rule 83.3(a) requires “any attorney who is not a resident of, and does not

  maintain an office in, Oklahoma” to “show association with an attorney who is personally

  appearing in the action and who is a resident of the State and maintains a law office within the

  State of Oklahoma, and who has been duly and regularly admitted to practice in this Court.”

  Subsection (c) allows the Court, within its discretion, to grant relief from the rule “upon motion

  establishing financial hardship, special qualifications of non-resident counsel, or other good




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  cause, provided that out-of-state counsel certifies familiarity with the local civil court rules.”

  LCvR 83.3(c).

         Defendant’s counsel, Steven L. Rahhal, qualifies for the exception allowed by Local

  Civil Rule 83.3(c). Mr. Rahhal has been licensed to practice law in the State of Oklahoma since

  passing the bar in 1987 after graduating from the University of Oklahoma College of Law. He

  has regularly practiced in the Northern District of Oklahoma without the aid of local counsel

  since his admission to this Court in May 2007. 1 Mr. Rahhal lived in Oklahoma from 1962 to

  1989, and worked as an attorney at the law firm of Crowe & Dunlevy based in Oklahoma City

  from 1987 to 1989 before relocating his practice to Dallas.

         Defendant’s counsel is now with the law firm of Littler Mendelson, P.C. (“Littler”), an

  international firm that specializes in representing employers in employment-related disputes,

  such as the instant case. Although defense counsel is located in Dallas, Texas, and Littler does

  not maintain an office in the State of Oklahoma, Dallas is approximately 258 miles from Tulsa

  and is only one hour away from Tulsa by plane. Defense counsel would therefore be able to

  travel to and appear in Tulsa upon short notice if necessary.

         In addition, defense counsel’s firm handles a substantial number of Main Event’s

  employment-related matters, and, therefore, has special and particularized knowledge that will

  allow defense counsel to handle this matter effectively and efficiently. Moreover, if Defendant is

  required to retain local counsel, it will unnecessarily increase its costs of defending this suit.

  1
    This Court has previously waived the local counsel requirement for Mr. Rahhal. See, e.g.,
  Kimberly Borland v. Farwest Corrosion Control Company, Case No. CIV-17-CV-403-CVE-
  MJX (N.D. Okla. Aug. 28, 2017) (Dkt. No. 11) (granting relief from local counsel requirement
  for Mr. Rahhal) (attached hereto as Exhibit 1); David L. Keneipp v. MVM, Inc., Case No. 15-CV-
  565-JED-TLW (N.D. Okla. Dec. 4, 2015) (Dkt. No. 17) (granting relief from local counsel
  requirement for Mr. Rahhal) (attached as Exhibit 2); and Robin E. Craycraft v. Belk, Inc., Case
  No. 4:15-CV-00335-JED-PJC (N.D. Okla. July 22, 2015) (Dkt. No. 10) (granting relief from
  local counsel requirement for Mr. Rahhal) (attached as Exhibit 3).


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  Finally, defense counsel certifies that he has read and is familiar with the Local Civil Rules of

  the United States District Court for the Northern District of Oklahoma.

         Given these circumstances, and for good cause shown, Defendant respectfully asks that

  Steven L. Rahhal be permitted to appear without local counsel.

                                          II. Conclusion

         For the reasons set forth herein, Defendant Main Event Entertainment LP d/b/a Main

  Event Entertainment a foreign limited partnership respectfully requests that the Court enter an

  Order granting it relief from the local counsel requirement of Local Civil Rule 83.3 and allowing

  its non-resident counsel Steven L. Rahhal to appear without local counsel.

  Dated: February 8, 2018                        Respectfully submitted,



                                                 /s/ Steven L. Rahhal
                                                 Steven L. Rahhal
                                                 OBA No. 125545

                                                 LITTLER MENDELSON
                                                 A PROFESSIONAL CORPORATION
                                                 2001 Ross Avenue
                                                 Suite 1500, Lock Box 116
                                                 Dallas, TX 75201-2931
                                                 214.880.8100
                                                 214.880.0181 (Facsimile)
                                                 srahhal@littler.com

                                                 ATTORNEY FOR DEFENDANT




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on the 8th day of February 2018, I served a copy of this document
  via First Class Mail and electronically transmitted this document to the Clerk of Court using the
  CM/ECF System for filing. Based on the records currently on file, the Clerk of Court will
  transmit a Notice of Electronic Filing to the following ECF registrants:

         Charles C. Vaught, OBA #19962
         2727 East 21st Street, Suite 505
         Tulsa, Oklahoma 74114
         cvaught@a-vlaw.com
                                                      /s/ Steven L. Rahhal
                                                      Steven L. Rahhal




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